                    6UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE, NORTH CAROLINA

UNITED STATES OF AMERICA                      )
                                              )    DOCKET NO. 3:03CR00036-1
                   V.                         )
                                              )                ORDER
WILLIAM J. JACOBS (1)                          )


        For the reasons stated in defendant’s 28 July 2006 Motion, and for good cause shown, it
is hereby ordered, adjudged, and decreed, that the Clerk of this court may unseal and provide a
copy of the Pre-Sentencing Report prepared in this case to defendant’s appellate counsel. Said
copy to be kept under seal and filed under seal when defendant’s appeal is filed with the United
States Court of Appeals for the Fourth Circuit

        The Clerk is directed to certify copies of this order to Defendant, counsel for the
Defendant, to the United States Attorney, the United States Marshals Service, and the United
States Probation Office.
                                                  Signed: September 5, 2006




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